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                     THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ATS TREE SERVICES, LLC,

               Plaintiff,

 v.
                                                  Case No.: 2:24-cv-1743-KBH
FEDERAL TRADE COMMISSION; LINA
M. KHAN, in her official capacity as Chair
of the Federal Trade Commission; and
REBECCA KELLY SLAUGHTER,
ALVARO BEDOYA, ANDREW N.
FERGUSON, and MELISSA HOLYOAK, in
their official capacities as Commissioners of
the FTC,

               Defendants.


                                          ORDER

        Defendants’ Unopposed Motion for Leave to File Excess Pages (ECF No. 17) is hereby

GRANTED. Defendants may file a response to Plaintiff’s motion for a stay of effective date and

preliminary injunction (ECF No. 10) not to exceed thirty-five (35) pages.




DATE: May 28, 2024
                                                 BY THE COURT:

                                                 /s/ Hon. Kelley B. Hodge

                                                    HODGE, KELLEY B., J.
